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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION

ANTOINETTE COLLELO as personal
representative of FRANK J. COLLELO,

 

Plaintiff. CASE NO.:
-VS_
M&T BANK CORPORATION,
Defendant.
/
Q_QI\LAINT

COMES NOW Plaintiff, Antoinette Collelo as personal representative of Frank J.
Collelo, by and through the undersigned counsel, and sues Defendant, M&T Bank Corporation
(“M&T”), and in support thereof respectfully alleges violations of the Telephone Consumer
Protection Act, 47 U.S.C. § 227 et seq. (“TCPA”) and the Florida Consumer Collection Practices
Act, Fla. Stat. § 559.55 et Seq. (“FCCPA”).

INTRODUCTION

l. The TCPA Was enacted to prevent companies like M&T from invading American
citizen’s privacy and prevent abusive “robo-calls.”

2. “The TCPA is designed to protect individual consumers from receiving intrusive
and unwanted telephone calls.” Ml'ms v. Arrow Fl`n. Servs., LLC, -US--, 132 S.Ct., 740, 745, 181,
L.Ed. 2d 881 (2012).

3. “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the *1256
scourge of modern civilization, they Wake us up in the moming; they interrupt our dinner at
night; they force the sick and elderly out of bed; they hound us until We Want to rip the telephone

out Of the Wall.”’ 137 COng. Rec. 30, 821 (1991). Senator Hollings presumably intended to give
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telephone subscribers another option: telling the autodialers to simply stop calling.” Osorio v.
stare Farm Bank, F.S.B., 746 F. 3d 1242 (11“‘ Cir. 2014).

4. According to the Federal Communications Commission (FCC), “Unwanted calls
and texts are the number one complaint to the FCC. There are thousands of complaints to the
FCC every month on both telemarketing and robocalls. The FCC received more than 215,0()0
TCPA complaints in 2014." Fact Sheet: Wheeler Pror)osal to Protect and Emr)ower Consumers
Against Unwanted Robocalls, Texts to Wireless Phones, Federal Communications Commission,
(May 27, 2015), http://transition.fcc.gov/Dailv Releases/Dailv Business/2015/db0527/DOC-

333676Al .pdf.

JURISDICTION AND VENUE
5. This is an action for damages exceeding Fifteen Thousand Dollars ($15,000.00)

exclusive of attorney fees and costs.

6. Jurisdiction and venue for purposes of this action are appropriate and conferred by
28 U.S.C. §1331.

7. The alleged violations described in the Complaint occurred in Polk County,
Florida.

8. The statutory survivor and beneficiary to this claim is as follows: Antoinette
Collelo, wife of the departed - Frank J. Collelo.

FACTUAL ALLEGATIONS

9. Plaintiff is a natural person, and citizen of the State of Florida, residing in Polk
County, Florida

lO. Plaintiff Was a “consurner” as defined in Florida Statute § 559.55(8).

ll. Plaintiff Was an “alleged debtor.”

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12. Plaintiff was the “called party.” See Breslow v. Wells Fargo Bank, N.A., 755 F. 3d
1265 (l lth Cir. 2014) and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242 (l lth Cir. 2014).

13. Defendant, M&T, is a corporation with its principal place of business located at
One M&T Plaza, 19th Floor, Buffalo, NY 14203-2399 and which conducts business in the State
of Florida

14. The debt that is the subject matter of this Complaint is a “consumer debt” as
defined by Florida Statute §559.55(6).

15. M&T called Plaintiff approximately five hundred (500) times since August 1,
2013, in an attempt to collect a debt.

16. M&T attempted to collect a debt from Plaintiff by this campaign of telephone
calls.

17. M&T intentionally harassed and abused Plaintiff on numerous occasions by
calling several times during one day and on back to back days, with such frequency as can
reasonably be expected to harass.

18. On information and belief, the telephone calls were placed using automated
telephone dialing equipment, without human intervention

19. Each call M&T made to Plaintiff Was made using an “automatic telephone dialing
system” which has the capacity to store or produce telephone numbers to be called, using a
random or sequential number generator; and to dial such numbers as specified by 47 U.S.C §
227(a)(l).

20. Each call M&T made to Plaintiff’s cell phone was done so without the “express
permission” of Plaintiff.

2l. Beginning on or around August 1, 2013, Plaintiff began receiving phone calls

from M&T to his cellular telephone concerning Plaintiffs delinquent mortgage
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22. Not wishing to fight over the house further, Plaintiff decided to turn the house
back over to M&T.

23. Upon receiving the initial calls from M&T to his cellular telephone, Plaintiff
would inform the agents of M&T that he was giving the house back and to stop calling him.

24. Despite Plaintiff`s repeated requests for the calls to stop and that he was giving
the house back to M&T, the calls continued unabated.

25. M&T would call Plaintiff several times a day, sometimes up to three (3) times a
day and on back to back days always asking Plaintiff about his delinquency despite him
repeatedly saying he was giving the house back.

26. The constant harassing phone calls from M&T to Plaintiff`s cell phone began to
take a toll on Plaintiff as his attitude and demeanor would visibly change when he would see yet
another call from M&T, often becoming quiet or upset and experience shortness of breath and/or
perspiration.

27. On several occasions while in front of his children, Plaintiff would answer
telephone calls from M&T and would state in exasperation: “l did what you asked! 1 surrendered
the house! Stop calling me please!”

28. On at least one occasion Plaintiff remarked to his children that due to the constant
harassment from M&T, the house Would be the death of him.

29. 1n the beginning of 201 5 Plaintiff was served foreclosure papers for the house.

30. On March 3, 2015 while in the Hillsborough County Court House in Tampa,
Florida for a hearing on the foreclosure, Frank Collelo suffered cardiac arrest and died.

31. M&T has a corporate policy to use an automatic telephone dialing system or a

pre-recorded or artificial voice to individuals just as it did to Plaintiff’s cellular telephone in this

CHSC.

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32. M&T has a corporate policy to use an automatic telephone dialing system or a
pre-recorded or artificial voice just as it did to Plaintist cellular telephone in this case, with no
way for the consumer, Plaintiff, or M&T, to remove the number.

33. M&T’S corporate policy is structured so as to continue to call individuals like
Plaintiff, despite these individuals explaining to M&T they are the wrong party.

34. M&T has numerous other federal lawsuits pending against it alleging similar
violations as stated in this Complaint.

35. M&T has numerous complaints across the country against it asserting that its
automatic telephone dialing system continues after being instructed to stop. Attached hereto as
Exhibit “l” is a small sampling of online complaints about M&T’s telephone harassment

36. Since December 2011, the Consumer Financial Protection Bureau

(www.consumerfinance.gov) has received One Thousand Eight Hundred and Sixty Two (1,862)

 

Complaints against M&T, including for such complaint categories as “collection practices” and
“communication tactics.” See Attached Exhibit “2.”

37. M&T has had numerous complaints from consumers across the country against it
asking to not be called; however, Defendant continues to call the consumers.

38. M&T’S corporate policy provided no means for Plaintiff to have his number
removed from the call list.

39. M&T has a corporate policy to harass and abuse individuals despite actual
knowledge the called parties do not wish to be called.

40. Plaintiff did not expressly consent to M&T’S placement of telephone calls to
Plaintiff’s cellular telephone by the use of an automatic telephone dialing system or a pre-

recorded or artificial voice prior to M&T’S placement of the calls.

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41. Not a single call placed by M&T to Plaintiff were placed for “emergency
purposes” as specified in 47 U.S.C. § 227(b)(l)(A).

42. M&T willfully and/or knowingly violated the TCPA with respect to Plaintiff.

COUNT I
(Violation of the TCPA)

43. Plaintiff incorporates Paragraphs one (1) through forty-two (42).

44. Defendant willfully violated the TCPA with respect to Plaintiff, especially for
each of the auto-dialer calls made to Plaintist cellular telephone after Plaintiff notified
Defendant that Defendant was calling the wrong number and to stop calling Plaintiff.

45. Defendant knowingly violated the TCPA with respect to Plaintiff, especially for
each of the auto-dialer calls made to Plaintiff`s cellular telephone after Plaintiff notified
Defendant that Defendant was calling the wrong number and to stop calling Plaintiff,

46. M&T repeatedly placed non-emergency telephone calls to Plaintiff’s cellular
telephone using an automatic telephone dialing system or prerecorded or artificial voice without
Plaintiff’s prior express consent in violation of federal laW, including 47 U.S.C §

227(b)( 1)(A)(iii).

WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and
judgment against M&T BANK for statutory damages, punitive damages, actual damages, costs,
interest, attorney fees, enjoinder from further violations of these parts and any other such relief
the court may deem just and proper.

Q(M
(Violation of the FCCPA)

47. Plaintiff incorporates one (1) through forty-two (42).
48. At all times relevant to this action M&T is subject to and must abide by the law of

Florida, including Florida Statute § 559.72.

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49. M&T has violated Florida Statute § 559.72(7) by willfully communicating with
the debtor or any member of his or her family with such frequency as can reasonably be expected
to harass the debtor or his or her family.

50. M&T has violated Florida Statute § 559.72(7) by willfully engaging in other
conduct which can reasonably be expected to abuse or harass the debtor or any member of his or
her family.

51. M&T’S actions have directly and proximately resulted in Plaintiff’s prior and
continuous sustaining of damages as described by Florida Statute § 559.77.

WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and
judgment against M&T for statutory damages, punitive damages, actual damages, costs, interest,
attorney fees, enjoinder from further violations of these parts and any other such relief the court
may deem just and proper.

Respectfully submitted,

 

William Pber:ce»Ho/ward, Esq.
Morgan & Morgan, Tampa, P.A.
One Tampa City Center

201 N. Franklin Street, 7th Floor
Tarnpa, FL 33602

Tele: (813) 223-5505

Fax: (813) 223-5402
bhoward@forthepeople.com
Florida Bar #: 0103330
Attorney for Plaintiff

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Sign ln

800-220-6004

Did you get a call from 8002206004? Read the posts below to find out details about this number. A|so
re ort unwanted calls to help identify who is using this phone number.

 

800-220-6004
To||-free

Start Application Now

Loans to Fit Your Needs. Fast, Easy and Convenient!

;1.'2 Next

F|annigan
13 Dec 2012

 

No message, no nothing ......... idiots

dTMG
14 Dec 2012

 

l\/|ortgage Company

Ca//er.' MTB
Cal/ Type: Debt Co/lector

Wrencher
1 Jan 2013 | 1 reply

 

This is l\/l&T Bank Consumer Asset Nlanagement Company. They are collections for l\/l&T Bank.
They say l am in default of my mortgage, even though | am not late or behind on payments Guess l
will have to hire an attorney to sort this out. Poor record keeping

Cal/er.' M&T Bank Asset Management Company EXHlB|-r

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http://800notes.corn/Phone.aspx/l -800-220-6004 7/31/2015

800-%6()@Z116800MBD54\/1&S-TBM Document 1 Filed 01/28/16 Page 9 of 15 Pageal@ 9 0f7

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Marianne replies to Wrencher
15 l\/lay 2013

 

Be careful with M & T. They have a late payment on my credit report and l was never latel They
refuse to take it off

From Texas
15 Jan 2013

 

wm

These idiots are so afraid they're gonna get screwed out of their mortgage money they start calling a
few days ahead of time and certainly before your grace period is even close, they're wanting you to
tell them to the hour when you're going to make your mortgage payment l\/I&T Bank ........... They
ought to be investigated as to why they continually sell their notes back and forth within their own
institutions, gotta be a scam there somewhere

Ca//er.' M& T Bank Mon‘gage
Ca// Type: Debt Col/ector

New Hampshire
5 Feb 2013

 

M & T Bank. | agree with the person From Texas. They start calling on the 4th or 5th if your due date
is the 1st and you are still in your grace period. | get called every month because l don't send out
my mortgage payment two weeks in advance so it gets posted on time.

Ca//er: M & T Bank
Ca// Type.' Debt Co/lector

Kman
24 Apr 2013

 

Worse so called bank institution l've ever had to deal with, the worse to even talk at

Anyone because we may be a debt collector. The federal government does need to investigate as
they do not adhere to President Obama law helping those who are having trouble with mortgage
loan.

Ca//er: M& T
Ca// Type.' Debt Col/ector

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Florida
10 Oct 2013

 

Cal|ed me, l rejected the call (l don't answer numbers l don't recognize). To my surprise, they left me
a message l then called them back. They asked me for my loan number, which | don't have with me.
They got indignant with me, asking "You should have some correspondence from us about your
Mortgage". l answered, "l have that at home, but since you called me while l'm at work, l don't have
it."

They gave me the excuse that the government requires them to check 4 days after the ochia| due
date.

Ca//er.' M& T Bank
Ca// Type.' Debt Co//ector

NoBody
10 Oct 2013

 

Just recieved a call from them. They stated that they are required to call even during the grace
period. | advised that this has never happed with BOA and the lady "michelle" stated that each bank
has their own guidelines they follow.

Cal/er: M& T Bank

Not this time
22 Nov 2013

 

Amy from M&T left me a message on my office voice mail, her message was " This is Amy with M&T
please call me at 800-220-6004 regarding your mortgage loan l thought she has ne mistaken for

y someone else so l called her to let her know. | called the number to Hnd out by listening to the on
hold message that | was probably right The person that finally answered asked me for my Nlortgage
Loan # to which | said | did not have that number with me, so the attendant said oh then give me your
social security number l can look it up that way. l told her that was not going to happen and that my
mortgage was through someone else. She quickly stated that they may have had the wrong number
and she hung up. Never ever give your personal information to anyone Always be on guard against
these low life scammers, you never know from what angle they will come from.

Ca//er.' M& T

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http://800notes.corn/Phone.aspx/1-800-220-6004 7/31/2015

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l had literally paid my mortgage for l\/l&T and these people called later that same day ....and l wasn't
late in my payment either. lt pisses me off that they have the audacity to call before your payment is
|ate...or worse yet..after its been paid

StOthOn, CA replies to greenman
13 Mar 2014

 

l made my payment today as we||, and my phone was ringing as l was speaking with my boss.
Luckily it was on vibrate, but l don't understand what the bank's problem is_ They didn't leave a
message either.

Wendt
9 Jan 2014

 

l\/l&T is the worst bank with horrible customer service.

Ca//er: MTB

rrivas
9 Jan 2014

 

l just received a call also telling me that my mortgage payment is late, l am still within my grace
period to make the payment. she wanted to know when l was making the payment also.

Ca//er: MTB
Ca// Type: Debt Co//ector

DWM
13 Jan 2014

 

._- ,x`

We get calls to an office phone dai|y. No one that works here as given the number out.

Manich02
12 Feb 2014

 

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800-M®468002!m5)4/l1$5-TB|\/| Document 1 Filed 01/28/16 Page 12 of 15 PaWE)SlQN

Sign |n

Cal/er: M& T
Ca// Type: Debt Col/ector

mlopez
21 Feb 2014

 

l keep getting calls and l dont even have a mortgage payment

Cal/er: M& T Bank
Cal/ Type.' Debt Collector

Mrs.2013
6 ivlar 2014

 

Just started receiving calls twice a day on my work phone. l answered once and they hung up on me.
l know my mortgage is one month ahead and with a completely different lender... What the heck?

' Ca//er.~ 800-220-6004

M
28 l\/lar 2014

 

M&T Bank out of Buffalo, NY. Very disrespectful and harassing, to the downright intimidating Sent
them two letters to stop harassing me as l have ptsd and what they are doing is exacerbating my
disabilities They don't leave extensions or direct numbers and cannot follow simple voice mail

instructions for their calls to be returned. Spent time on the phone trying to get ahold of them and

when finally put through and after l said hello to them they hung up on me. They called again a week

later and this time l did answer and said hello and they hung up on me. Terrible deceptive company.

They have "lost or never received" my loan modification paperwork more then 3 times. Even though l

have fax transmissions status pages showing they went through. Finally received my papen/vork (all

30 something pages) and went to unden/vriting. l\/l&T Bank then sent me a letter stating they were
` closing the case due to lack of information There was NO other information l could give them!

Ended up sending them another letter stating if they wanted the same paperwork again they would
need to send me a check to pay for the faxing before | sent them the same paperwork again and to
stop calling and harassing and intimidating me.

http://800notes.com/Phone.aspx/ l -800-220-6004 7/31/2015

Soorzaa@a)§a-UQOBQQ®MBs-TBM Document 1 Filed 01/28/15 Page 13 or 15 Pa@ego@ef 7

Sign |n

record) Hire an aggressivevattorneyiasap ifyou afewanting to workout a loan 7modificationand if you
can't find a halfway decent attorney for low cost check with a justice project in your state that pro
rates or performs actions for free.

Best advice, cover your own backside, because lVl&T Bank will slip up and threaten you or perform
some other illegal action and you'l| at least have documented proof to go on the offensive Fear not

Caller: M& T Bank
Ca// Type.' Debt Co//ector

Miffed!
14 Apr 2014

 

Got a call from this number, who left no message l don't have a mortgage Why call me?

1 l 2 Next

Let Exablox Solve Your Biz Needs With its NAS Backup Appliance.

"1 ,/
\ \_/

Report a phone call from 800-220-6004:

 

Your Name *
Your name as you would like it to appear in the title of your post.

Your Comment *
Describe your experience with calls from this number. Anything you know about the caller or the number that might help

others is especially welcome

http://800notes.com/Phone.aspx/1-800-220-6004 7/31/2015

800€5@<§@)46$)(1)000(2@5)4/|3$$3|\/| Document 1 Filed 01/28/16 Page 14 of 15 PaBBBIdH

Sign ln

carrpr unknown g

Submit

Thank you for your contribution! Please Watch your language and post only truthful information

Other phone numbers in the §QQ area code

Contact Us | Privacv Policv | Terms of Service | Lean Stuff

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Consumer Financial
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1851 §§ ction,foreclosure MD y 21224 Referral 12!09/2011 12/1212011 M&T Bank

1852 §§ its, escrow account N¥ 14150 Web y 12I'03.12011 12."10/2011 M&T Bank

1853 ZE 115, escrow account ii 75 CA 95503 Referral 12108/2011 75 12109!2011 M&T Bank

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